            Case: 20-2271         Document: 102-1      Page: 1    Filed: 08/04/2022



FORM 33. Response to Notice of Oral Argument                                           Form 33
                                                                                      July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

                   RESPONSE TO NOTICE OF ORAL ARGUMENT

          Case Number: 20-2271

  Short Case Caption: VirnetX Inc. v. Mangrove Partners Master Fund

            Filing Party VirnetX Inc.

Instructions. No more than two counsel may argue per side and no more than one
counsel may argue per party without leave of court. See Fed. Cir. R. 34(e). Each
arguing counsel must complete and submit a separate form.
If a party intends to waive argument, please check the waiver box; do not indicate
argument is for zero minutes. For non-waived argument, please complete the
remainder of the form indicating for which parties counsel will argue and the amount
of time counsel will argue. Rebuttal time is only allowed for Appellants and Cross-
Appellants. Unless otherwise ordered, panel cases must not exceed 15 mins; en banc
cases must not exceed 30 mins.

 Oral Argument Waiver:                  The filing party intends to waive oral argument.
 For Non-Waived Argument, List                   VirnetX Inc.
 All Parties Arguing on Behalf of:
 (Attach additional pages if needed)
 Arguing Counsel Name:              Stephen B. Kinnaird
 Phone: 202-551-1842               Argument Time:      12       Rebuttal Time:        3
   Arguing counsel is dividing time with counsel for another party or set of
 parties (additional counsel must file a separate Response).

I acknowledge that (1) oral argument is scheduled as stated in the court’s notice
and may proceed even if I have waived argument, see Fed. R. App. P. 34(e)–(f));
(2) arguing counsel can only change through filing an amended version of this form;
and (3) counsel who have not entered appearances in the case and are not listed on
this form cannot present oral argument.
        08/04/2022
  Date: _________________                      Signature:   /s/ Stephen B. Kinnaird

                                               Name:        Stephen B. Kinnaird
